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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,                                Case No. 16-20055
                                                Hon. Matthew F. Leitman
vs.

ANTOINE MAHONEY,

             Defendant.


        ORDER GRANTING REQUEST TO FILE DEFENDANT
      MAHONEY’S SENTENCING MEMORANDUM UNDER SEAL

      Defendant Antoine Mahoney having requested permission to file Defendant

Mahoney’s Sentencing Memorandum under seal;

      IT IS HEREBY ORDERED that counsel for Defendant Mahoney may file

his Sentencing Memorandum UNDER SEAL.

      IT IS SO ORDERED.

                                    /s/Matthew F. Leitman
                                    MATTHEW F. LEITMAN
                                    UNITED STATES DISTRICT JUDGE

Dated: January 31, 2017
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I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on January 31, 2017, by electronic means and/or ordinary
mail.

                                            s/Holly A. Monda
                                            Case Manager
                                            (313) 234-5113
